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AO 91 (Rev. 02/09) Criminal Complaint

United States District, Gourt

for the
Western District of New York Z

United States of America
— \
vy. Case No. 23-mj- SOS

FRANK E. NOESON II

 

Defendant

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about April 21, 2023, in the Western District of New York, the defendant, FRANK E.
NOESON III, did knowingly possess any material that contained images of child pornography, as defined
in Title 18, United States Code, Section 2256(8), that had been mailed, shipped and transported in and
affecting interstate and foreign commerce by any means, including by computer, and that were produced

using materials that had been mailed, shipped and transported in and affecting interstate and foreign
commerce by any means, including by computer;

all in violation of Title 18, United States Code, Section 2252A(a)(5)(B).
This Criminal Complaint is based on these facts:
Continued on the attached sheet.

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~ a

Complainant’s signature

\ a>. Pls

Randall E. Garver, Special Agent, FBI

Printed name and title
Sworn to before me and signed telephonically.

Date: April 27, 2023 Myla. ) !

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City and State: Buffalo, New York HON. MICHAEL J. ROEMER, USMJ

Printed name and title

 
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AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Randall E. Garver, being duly sworn, depose and say:

1. I am a Special Agent of the Federal Bureau of Investigation and entered on
duty in May 2006. I am currently assigned to the Buffalo Field Office and work on cases
associated with the Violent Crimes Against Children program, which targets individuals
involved in the online sexual exploitation of children. As part of these duties, I have become
involved in the investigation of suspected violations of Title 18, United States Code, Sections
2251, 2252, 2252A, 2422, 2423, and 2261. I have also participated in various FBI mandated
and volunteer training for the investigation and enforcement of federal child sexual abuse
material (CSAM), Sexual Enticement, Travel to Engage in Illicit Sexual Conduct, and

Cyberstalking laws in which computers or smartphones/ devices are used for engaging in such

violations of Federal law.

2. I make this affidavit in support of a criminal complaint charging FRANK E.
NOESON HI (“NOESON”) with a violation of Title 18, United States Code, Section

2252A(a)(5)(B) (possession of child pornography).

3, The statements contained in this affidavit are based on my involvement in this
investigation, as well as information provided to me by other law enforcement officers
involved in this investigation, and upon my training and experience. Because this affidavit is
being submitted for the limited purpose of seeking a criminal complaint, I have not included

every fact known to me concerning this investigation. I have set forth only the facts that I
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believe are necessary to establish probable cause to believe that NOESON violated Title 18,

United States Code, Section 2252A(a)(5)(B).

DETAILS OF THE INVESTIGATION
4, On or about April 19, 2023, an FBI Agent assigned to the Miami Field Office
contacted me about a case she was currently investigating and told me about a minor girl from
Dover, New Hampshire communicated over Snapchat with NOESON and sent pictures and
videos at the direction of NOESON that constituted child pornography. My colleague shared
that NOESON is a Sth grade teacher in Springville, New York. My colleague told me that
Miami Field Office became involved in this matter when they learned Victim was

communicating over Snapchat with an Ohio subject that Miami was already investigating.

5. On or about March 21, 2023, the FBI obtained consent to assume the online
identity of a 15-year-old female residing in New Hampshire (hereinafter “Victim”). When
my involvement in this investigation began, I originally had the understanding that Victim
was a 17-year-old female from the Miami area, however, after other FBI reports were made
available to me, I discovered Victim is currently 15-years old and resides in New Hampshire.
The review of Victim’s Snapchat account showed she communicated with Snapchat account
“Jayson_lenier” (determined to be NOESON) since at least on or about January 3, 2023. The
review showed Victim sent multiple images and videos that constituted child pornography to
the user of “jayson_lenier”. The user of “jayson_lenier” sent several nude images of himself
to Victim, including images of his penis and videos of himself urinating. The user of

“Jayson_lenier” also sent at least four images of his face to Victim. I reviewed the four images
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and submit to the Court that the images match the New York State Department of Motor

Vehicles (DMV) image of NOESON.

6. On or about April 5, 2023, an FBI Child and Adolescent Forensic Interviewer
(CAFT) spoke to Victim. During the interview, Victim discussed her communications with
several adult males via Snapchat and identified “jayson_lenier” (NOESON) as one of the
individuals she chatted with. Specifically, Victim stated that “jayson_lenier” (NOESON)
identified himself as a 5th grade teacher in Buffalo, New York. Victim stated that she told
“jayson_lenier” (NOESON) that she was 18 years old at first, but later said she was 17 years
old. In response, “jayson_lenier” (NOESON) stated that he could lose his job for talking to
her since she was a minor, but he continued to message her. During their messages,
“jayson_lenier” (NOESON) told Victim that he wanted one of his students urinate on him
and sent Victim a photograph of one of his students and told Victim it would be attractive if
she wore her hair like the student. During their communications “jayson_lenier” (NOESON)
asked for nude photographs of her, which she sent. Victim noted that “jayson_lenier”

(NOESON) also sent her nude photographs as well.

7. On or about April 5, 2023, an FBI Online Covert Employee (OCE) began to
conduct undercover conversations with NOESON purporting to be Victim. After reinitiating
contact, NOESON replied, “Uuuhhhhh / Wtf /Go ahead / Start explaining.” The OCE
replied, “I know sorry / Was grounded / My fucking parents”. NOESON asked, “from your
phone / Why?” The OCE replied, “from everything...basically stopped going to

school...they caught me cutting.” NOESON wrote back, “let me see you...oh shit.” The
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OCE wrote, “they put me on these fucking meds...which makes me forget everything / And
look like shit.” NOESON wrote, “I’m sorry / Let Daddy see you”, to which the OCE replied,
“T’m so depressed”. The OCE asked NOESON if he had a Kik account to communicate on.
NOESON replied that he did not have enough room on his phone to have Kik and asked why
OCE wished to move the conversation there. The OCE wrote back, “[her parents] just don’t
know anything about that app just know the reg ones / I hate being 17!!!!” NOESON replied,
“sorry,” and the OCE added, “can’t wait until I get the hell out of this house.” NOESON
next asked, “So do you have to behave now on here?” and advised he would look into getting
Kik. The OCE joked with NOESON, asking if he wanted to kill any of his students.
NOESON replied, “Lol. No” and asked what the OCE was wearing. The OCE asked
NOESON if he missed her, “or did u move on w one of students that blondie.” NOESON
replied, “Lol. There’s no blondie” and the OCE countered, “Well whatever she is the one u
wanted to pee on.” NOESON replied, “I want to pee on you.” The OCE wrote NOESON,
“U said her too” and NOESON wrote, “Nope.” The OCE next asked, “Do u fantasize about
the girls in ur class” and NOESON replied, “no.” The OCE then asked, “U talk to others?”

and NOESON asked, “Other girls...a few” before telling the OCE the others are middle aged

women.

8. On or about April 11, 2023, the OCE asked NOESON if he was able to
download Kik yet. The OCE wrote that she wanted to tell NOESON what happened to her,

but not over Snapchat. NOESON replied with a Kik account: CoachJayson40. The user

appeared to be on Kik for 2055 days.
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9. To allow me to quickly review the content exchanged between NOESON and
Victim (and later the OCE), my colleague in Miami made several videos wherein she held the
Victim’s phone in her hand and used another device to record the content as she scrolled
through. The videos the Miami agent made, titled IMG_0333.MOV to IMG_0337.MOV,
are further described herein. I note to the Court that there is no chat/text content between
Victim and NOESON because Snapchat deletes the text communications unless they are
otherwise stored by the user. The OCE chat conversations conducted by the Miami agent
were preserved (discussed above). Each of the videos produced by the Miami agent display
pictures and videos exchanged between the Victim’s phone and “Jayson Lenier” which I

know to be the display name of username, “jayson_lenier”, the user of which is NOESON.

10. A review of video IMG_0333.MOV shows that on 01/03/2023, NOESON
sent Victim a video of a man urinating into a urinal. On or about 01/05/2023, at
approximately 3:48 pm and 3:52 pm, Victim sent NOESON two videos, each of her
masturbating using a sex toy. Victim is not visible in the image; they are close videos of the
girl masturbating. At 3:58 pm on the same day, NOESON sent a video of his hand touching
his penis over his clothing. At 4:02 pm, Victim responded with another close video of her
masturbating using a sex toy. Based on my training and experience, I believe that the videos

Victim sent to NOESON on 01/05/2023 constitute child pornography.

11.  Inext reviewed a video titled IMG_0334.MOV, produced by my colleague in
Miami. In the video, it shows that on 01/06/2023, NOESON sent Victim a picture of himself

wearing a Buffalo Bills jersey bearing number 17. Only NOESON’s chin is visible in the
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image; however, the background (likely a classroom) and jersey are identifiable with other
images NOESON sent to Victim that showed his face. On 01/08/2023 at about 8:23 pm,
NOESON sent Victim a video of a man urinating in a toilet. The same day at about 10:51
pm, Victim sent a close video of herself masturbating, which based on my training and
experience constituted child pornography. On 01/11/2023, NOESON sent Victim a text that
stated, “I want little [Victim’s name] on my face fun”. On 01/13/2023, at about 12:04 pm,

NOESON sent a full facial picture of himself wearing the Bills jersey (number 17).

12. I next reviewed a video titled IMG_0335.MOV, produced by my colleague in
the Miami Field Office. The video continues with a video sent on 01/13/2023 of Victim
removing a tampon from her vagina, which based on my training and experience constituted
child pornography. The video continued with the two exchanging images in their underwear
and Victim sending more pictures that constitute child pornography. A review of the video
titled IMG_0336.MOV showed that on 02/01/2023, NOESON sent Victim an image of his
naked torso and penis. A few hours later NOESON sent a picture of himself, displaying his
face, which appeared to have been taken in his classroom. The video titled IMG_0337.MOV
showed NOESON sent Victim a 02/08/2023 image of a piece of paper in which he wrote,

“what color undies?” and “sooooo hornyyyy!”

13. Onor about April 20, 2023, using the information the detailed herein and other
information relating to administrative subpoenas issued by the FBI, federal search warrants
were authorized to search two residences associated with NOESON. On or about April 21,

2023, the FBI executed the warrants and seized NOESON’s Apple Phone. During the
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warrant’s execution, I interviewed NOESON who said he was the sole user of the “Jayson
Lenier” Snapchat account. NOESON told me he communicated with Victim for about one
year and believes that she is currently 18 years old. NOESON described their conversations
as “flirty” and said she often sent him images and videos of her vagina and of her
masturbating. NOESON told me he masturbated to Victim’s image and videos. When asked
what Victim’s age is, NOESON said he could not recall if Victim ever told him she was 17
years old, but he was confident that she is now 18 years old. I showed NOESON screenshots
that included pictures of his face, his nude body, and of Victim nude and masturbating;

NOESON recognized these images from his Snapchat conversation with Victim.

14. Immediately following the interview at his residence, NOESON drove to the
Erie County Sheriff's Office sub-station in Springville to be interviewed by another FBI Agent.
Following the interview, my colleague and I again spoke to NOESON about Victim. During
the interview, I told NOESON that I previously shared with NOESON that Victim was 17
years old. NOESON replied, “I knew she was in high school” and that a few months ago,
possibly in January 2023 or February 2023, Victim mentioned she was about to turn 18 years

old. NOESON again confirmed that that he was in contact with Victim for over a year.

15. On or about April 24, 2023, my colleague used forensic extraction software to
download the contents of NOESON’s phone. On or about April 25, 2023, I reviewed the
findings and located an image, titled 123_1.jpeg dated 01/13/2021, that depicts a nude
prepubescent boy, in my opinion, approximately age six, facing away from the camera with

an adult’s hand on the boy’s buttocks; the boy’s penis and scrotum are visible in the image.
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The boy’s face is not visible in the image. Based on my training and experience, the image is
child pornography. My review of the forensic extraction of NOESON’s phone continues,
and additional investigation is occurring with respect to Snapchat communications with other

potential minor individuals.

16. On or about April 25, 2023, I manually reviewed the “Jayson_Lenier”
Snapchat account and took several hundred screenshots to memorialize conversations. I
found two Snapchat conversations that took place between NOESON and Victim (Victim
used two different accounts). I do not name the accounts herein because FBI Miami
continues their investigative work using Victim’s account and screen name. It is noted that
most of the text communications are not saved, just certain exchanged images/videos that
were saved. I further note herein that Victim sent NOESON numerous nude and
masturbation images and videos and NOESON reciprocated as well. The pair also exchanged
numerous face pictures that depicted their true identities. The sub-paragraphs below annotate
key findings from my review:
Victim Account 1:
a. Conversations began on or about 01/03/2023.
b. On or about 01/05/2023, Victim sent NOESON videos of herself masturbating;
NOESON responded by sending videos of himself masturbating over his clothing.
After sending additional masturbation videos, NOESON wrote, “I want a little
[Victim] on my face fun.”

c. On or about 01/13/2023, Victim sent two images of her exposed vagina. On or
about 01/29/2023, NOESON wrote Victim, “Mmm ok baby/Little baby
[Victim]/My little girl (heart emoji)” before sending an image of himself in his

underwear with his erect penis exposed.

d. On or about 02/01/2023, NOESON sent Victim a picture of his torso and penis.
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e. On or about 02/09/2023, Victim sent NOESON two images, one of her
masturbating and the other exposing her vagina.

f. On or about 03/02/2023, Victim sent NOESON an image of herself masturbating.
Victim Account 2:

a. Conversation began on or about 08/26/2022.

b. On or about 08/29/2022, Victim sent an image of herself wearing underwear with
her breasts exposed.

c. On or about 08/30/2022, NOESON wrote to Victim, “you’re ruining everything.”

d. On or about 09/08/2022, NOESON wrote to Victim, “Wow. You. Look. Fucking.
Stunning”, “I’d be smiling too if I was where that face was”, and “God help me
for what I’d do to you.” [no images associated with texts, so context cannot be

assessed].

e, On or about 09/14/2022, NOESON sent to Victim, “a portrait of you on your
knees submitting to Daddy” and attached a picture of himself with his son, both
wearing shirts and ties, in front of the school district (or high school) emblem.

f, On or about 09/15/2022, NOESON wrote to Victim, “spread your tiny lips
exposing your clit and let Daddy’s big cock drain on it massaging it.” He then
wrote, “show daddy your pretty face”.

g. On or about 09/21/2022, NOESON wrote Victim, “I can’t describe to you how
badly I want you” before adding, “my little girl” and “we'd have a lot of fun.”

h. On or about 09/30/2022, Victim sent NOESON a close image of just underwear
pulled to the side with a hairbrush placed near her vagina.

i. On or about 10/10/2022, NOESON sent Victim a video of an adult woman and
an adult man engaged in vaginal intercourse before sending a video of a man
urinating into a toilet (the penis is not exposed).

j. On or about 10/14/2022, NOESON sent an image of the school’s emblem painted
or affixed to the wall.

k. On or about 10/17/2022, NOESON sent a series of pictures of writing on paper
as indicated: “need to hear you [Victim]”, “send daddy a voice memo”, “when do
you switch classes? I’m fucking horny!” Victim replied with a similar image:
“Daddy, I’m in class :( @ 10:25. Want to write up my schedule? What’s got daddy
soo horny hm?” NOESON replied with an image of a piece of paper with an arrow
that was pointed toward his crotch; on the paper was written, “you need to take
care of this!” Victim next replied with a photo that showed her class schedule on

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“green” and “white” days at her school. Some of her classes were “English, study
hall, Spanish, math, biology, and drawing. She indicated a “flex” period as well
and marked “A” by certain classes. When sending the picture to NOESON,
Victim affixed the following text, “the ones with the (a) I should be active during”,
presumably active on Snapchat. In the next image, Victim sent the specific times
for each period. For example, she indicated “bl.1” went from 7:40 am — 9:00 am,
“pl.2” from 9:05 am ~ 10:25 am. NOESON replied with an image that showed
“faculty meeting 8:00 LMC” and the words, “nope -> now!” Victim then sent
images of her exposed breasts and NOESON sent a video a man urinating in a
urinal (penis not exposed).

On or about 10/18/2022, Victim sent NOESON an image of her exposed vagina.
Later the same day, NOESON sent Victim a picture of a piece of paper with the
words “you must write daddy on one of your tits!” on it. The next image was of a
piece of paper that stated, “do itnow!”, “be daddy’s little slut!”, and “Daddy’s little
[Victim] (heart).”

m. On or about 10/19/2022, NOESON sent Victim an image of a piece of paper with
the words “horny af” on it (I note that ‘af’ means “as fuck”).

. On or about 10/20/2022, NOESON sent Victim an image, presumably of his
classroom and of his midsection/pubic area (clothed); Victim sent NOESON an
image of her vagina while on the toilet. Victim then sent a few pictures of her face
and NOESON sent a picture of paper with the words “I wan you [Victim]!” on it.

. On or about 10/21/2022, NOESON sent Victim an image of a piece of paper with
the following words on it, “550 kids/K-5/I only enjoy 1 HS student.” In a
subsequent photo, NOESON added, “Only [Victim]/I like it better/What does,
caps?/those aren’t caps, silly!”, presumably answering Victim’s questions. Finally
he block letters to the image that stated, “I’m horny!” and “Ugh, Really...I want
to see!” NOESON then sent a picture of his erect penis covered by his pants and a
man urinating in a urinal.

. On or about 10/26/2022, after sending Victim pictures of his erect penis,
NOESON wrote, “You need me deep inside you.”

. On or about 10/28/2022, Victim sent NOESON an image of her vagina taken
while she was sitting on the toilet.

On or about 11/01/2022, NOESON sent Victim a short video of an adult man
performing oral sex on an adult woman.

On or about 11/14/2022, Victim sent an image of her legs in a skirt and NOESON
replied by sending an image of a piece of paper with the following written on it,

“nice legs little girl!” and a picture of his erect penis inside of his pants (penis not
exposed).

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t. On or about 11/29/2022, NOESON sent Victim a video of himself masturbating
and an image of his torso with semen on it and his erect penis exposed.

u. On or about 11/30/2022, NOESON wrote Victim, “think of grinding your little
tight pussy on my bulge.”

v. On or about 12/03/2022, NOESON sent Victim a video of an adult man
performing oral sex on an adult woman.

w. On or about 12/06/2022, Victim sent NOESON a picture of his name, “Jayson”
in a heart that she presumably drew.

x. On or about 12/12/2022, NOESON sent to Victim an image of a piece of paper
with the following words written on it, “need to cum!!” Victim replied with an
image of her jeans and the words “yes we do!” written on the picture. She next
sent a picture of her vagina.

y. On or about 12/20/2022, NOESON wrote to Victim, “I want to suck the entire
puffy part into my mouth and then as it slides out bite the hardening small part.”

17. Based upon the foregoing, I respectfully submit that I have probable cause to
believe that FRANK E. NOESON III has violated Title 18, United States Code, Section

2252A(a)(5)(B).

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RANDALL E. GARVER, Special Agent
Federal Bureau of Investigation

 

Sworn to and subscribed telephonically
this 27" day of April 2023.

HON. MICHAEY J. ROEMER
United States Magistrate Judge

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